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                     Exhibit 14
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                            LEBoEUF, LAMB, GREENE & MACRAE LLP

      NEW YORK                                        GOODWIN SQUARE                                              LONDON
                                                                                                            A MULTINATIONAL
      WASHINGTON, D.C.                                                                                         PARTNERSHIP

      ALBANY                               225 ASYLUM STREET,            13TH FLOOR                                  PARIS
      BOSTON                                      HARTFORD,       CT   06103                                    BRUSSELS
      CHICAGO                                                                                             ,JOHANNESBURG
                                                         (860) 293-3500                                            I PlY) LTD.
      HARTFORD
                                                   FACSIMILE: (860) 293-3555                                      MOSCOW
      HOUSTON
                                                                                                                   RIYADH
      ,JACKSONVI LLE                                                                                       AFFILIATED OFFICE

      LOS ANGELES                                                                                                 BISHKEK
      PITTSBURGH                                                                                                   ALMATY
                                            E-MAIL ADDRESS:RONALD.ZDRO.JESKI@LLGM.COM
      SAN FRANCISCO                                                                                               BEI,JING
                                                WRITER'S DIRECT DIAL: (860) 293-3537




                                                         April 10, 2006

               BY ELECTRONIC MAIL

               Steven Steingard, Esq.            Michael Elsner, Esq.                   James P. Bonner, Esq.
               Kohn Swift & Graf, P.C.           Motley Rice LLC                        Shalov, Stone & Bonner LLP
               One South Broad Street            28 Bridgeside Boulevard                485 Seventh Avenue
               Suite 2100                        P.O. Box 1792                          Suite 1000
               Philadelphia, PA 19107            Mt. Pleasant, S.C. 29465               New York, NY 10018

                             Re: Linde, et al v. Arab Bank plc, No. 04 Civ. 2799 (NG)(VVP)
                                 Litle v. Arab Bank, pic, No. 04 Civ. 5449 (NG) (VVP)
                                 Almog, et al v. Arab Bank pic, No. 04 Civ. 5564 (NG)(VVP)
                                 Coulter, et al. v. Arab Bank pic, No. 05 Civ. 365 (NG)(VVP)
                                 Ajriat-Kurtzer, et al. v. Arab Bank pic, No. 05 Civ. 388 (NG)(VVP)
                                 Bennettv. Arab Bank, pic, No. 05 Civ. 3183 (NG) (VVP)
                                 Roth v. Arab Bank, pic, No. 05 Civ. 3738 (NG) (VVP)
                                 Permission to Release Banking Records


               Gentlemen:

                       We write to notify you of recent developments in the Bank's ongoing efforts to secure
               permission to release banking records it would otherwise be prohibited from producing by bank
               secrecy laws and rules of the jurisdictions in which the records are located. Pursuant to
               Paragraph 3 of Magistrate Judge Pohorelsky's March 24,2006 Scheduling Order, the Bank must
               notify plaintiffs whether the Saudi Committee has consented to the disclosure of documents.

                       As we have previously informed you, the Saudi Committee is not an Arab Bank
               accountholder. In making payments to the needy located in the Occupied Palestinian Territories,
               the Saudi Committee apparently directed its bank, Arab National Bank in Saudi Arabia, to issue
               payments in the territories via Arab National Bank's correspondent relationship with local banks
               in the territories. Arab Bank was one such local bank with whom the Arab National Bank had a




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           correspondent banking relationship. Therefore, although Arab National Bank is Arab Bank's
           customer in these circumstances, the Saudi Committee is the true party in interest as to any bank
           secrecy protection. In attempting to gain the release ofthe documents that are responsive to your
           various discovery requests, we have reached out directly to the Saudi Committee to secure its
           consent to the release of the requested records.

                  As a result of our efforts, I am happy to report that on March 24, 2006, the Saudi
          Committee notified counsel for Arab Bank that it would authorize Arab National Bank to permit
          Arab Bank to produce responsive documents issued by Arab National Bank to Arab Bank on
          behalf of the Saudi Committee. Please be aware that the Saudi Committee granted its permission
          subject to its right to review the records that will be produced.

                  Though we are awaiting receipt of Arab National Bank's permission to release the wire
          transfer records, Arab Bank has no reason to believe that Arab National Bank would otherwise
          object to producing the records. If you have any questions, please contact me.




          cc:     All counsel on attached list




                                                                                                      JA2472
